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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


SAMANTHA FINLEY,                                   Case No.: 0:21-cv-01285

                      Plaintiff,                   COMPLAINT AND
                                                   DEMAND FOR JURY TRIAL
v.
                                                       1. FCRA, 15 USC § 1681 et seq.
EXPERIAN INFORMATION
SOLUTIONS, INC.,

                      Defendant.




       Plaintiff Samantha Finley (“Plaintiff”), through counsel, alleges violations of the

Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq., against Defendant Experian

Information Solutions, Inc. (“Experian” or “Defendant”).

                                    I.     INTRODUCTION

       1.      Plaintiff’s Complaint arises from violations of the Fair Credit Reporting Act

(“FCRA”), 15 U.S.C. § 1681 et seq., by the Defendant. Plaintiff contends Defendant failed

to follow reasonable procedures to assure maximum possible accuracy in the preparation

of Plaintiff’s “consumer reports” as defined in 15 U.S.C. § 1681a(d), and consequently

reported inaccurate information about Plaintiff. “Consumer reports” under 15 U.S.C. §

1681a(d) include both credit file disclosures obtained directly by Plaintiff from the

consumer reporting agencies and consumer reports obtained by third parties as a factor in

establishing Plaintiff’s eligibility for credit.

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                           II.    JURISDICTION AND VENUE

       2.     This Court has jurisdiction of this action pursuant to 28 U.S.C. § 1331

because Plaintiff alleges violations of the Fair Credit Reporting Act, a federal law. See 15

U.S.C. § 1681p (FCRA) (permitting actions to enforce liability in an appropriate United

States District Court).

       3.     Venue in the District of Minnesota is proper pursuant to 28 U.S.C. § 1391

because Defendant regularly transacts business within this District, is otherwise subject to

personal jurisdiction in this District, and a substantial part of the events giving rise to

Plaintiff’s claims occurred in this District.

                                       III.     PARTIES

       4.     Plaintiff incorporates herein by reference all of the above paragraphs of this

Complaint as though fully set forth at length herein.

       5.     Plaintiff is a natural person who resides in Belle Plaine, Minnesota.

       6.     Plaintiff is a “consumer” as defined by the FCRA, 15 U.S.C. § 1681a(c).

       7.     Defendant Experian is a “consumer reporting agency,” as defined in 15

U.S.C. § 1681a(f). On information and belief, Experian is regularly engaged in the

business of assembling, evaluating, and disbursing information concerning consumers for

the purpose of furnishing “consumer reports,” as defined in 15 USC § 1681a(d), to third

parties. Experian’s principal place of business is located at 475 Anton Boulevard, Costa

Mesa, California 92626.




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       8.     During all times pertinent to this Complaint, Defendant was authorized to

conduct business in the State of Minnesota and conducted business in the State of

Minnesota on a routine and systematic basis.

       9.     Defendant regularly engages in the business of assembling, evaluating, and

disbursing information concerning consumers for the purpose of furnishing “consumer

reports,” as defined in 15 U.S.C. § 1681a(d), to third parties. Defendant regularly furnishes

consumer reports to third parties for monetary compensation, fees, and other dues, using

means and facilities of interstate commerce, and is therefore a “consumer reporting

agency” as defined by 15 U.S.C. § 1681a(f) of the FCRA.

       10.    During all times pertinent to this Complaint, Defendant acted through

authorized agents, employees, officers, members, directors, heirs, successors, assigns,

principals, trustees, sureties, subrogees, representatives, and/or insurers.

       11.    Any violations by Defendant were not in good faith, were knowing,

negligent, willful, and intentional, and Defendant did not maintain procedures reasonably

adapted to avoid any such violations.

                            IV.    FACTUAL BACKGROUND

       12.    Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully set forth at length herein.

       13.    The United States Congress has found that the banking system is dependent

upon fair and accurate credit reporting. Inaccurate consumer reports directly impair the

efficiency of the banking system, and unfair credit reporting methods undermine the public

confidence, which is essential to the continual functioning of the banking system.

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       14.    Congress enacted the FCRA to ensure fair and accurate reporting, promote

efficiency in the banking system, and protect consumer privacy.

       15.    The FCRA is intended to ensure consumer reporting agencies (“CRAs”)

exercise their grave responsibilities with fairness, impartiality, and a respect for the

consumer’s right to privacy because CRAs have assumed such a vital role in assembling

and evaluating consumer credit and other consumer information.

       16.    Defendant, one of the three major consumer reporting agencies (at times

referred to collectively as “the CRAs,” and individually as a “CRA”) in the United States,

regularly publishes and distributes credit information about Plaintiff and other consumers

through the sale of consumer reports.

       17.    Defendant     regularly    purchases    and    obtains   consumer     bankruptcy

information to include in consumer reports.

       18.    Defendant’s consumer reports generally contain the following information:

(i) Header/Identifying Information: this section generally includes the consumer’s name,

current and prior addresses, date of birth, and phone numbers; (ii) Tradeline Information:

this section pertains to consumer credit history, and includes the type of credit account,

credit limit or loan amount, account balance, payment history, and status; (iii) Public

Record Information: this section typically includes public record information, such as

bankruptcy filings; and (iv) Credit Inquiries: this section lists every entity that has accessed

the consumer’s file through a “hard inquiry” (i.e., consumer-initiated activities, such as

applications for credit cards, to rent an apartment, to open a deposit account, or for other

services) or a “soft inquiry” (i.e., user-initiated inquiries like prescreening).

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       19.     Defendant obtains consumer information from various sources.           Some

consumer information is sent directly to Defendant by furnishers, and other information is

independently gathered by Defendant from third party providers/vendors or repositories,

like computerized reporting services such as PACER and Lexis-Nexis.

       20.     Defendant regularly seeks out and procures consumer bankruptcy filing and

discharge information, with the intention of including it in the consumer reports Defendant

sells to third parties for a profit.

       21.     The diligence Defendant exercises in uncovering and recording consumer

bankruptcy filings is not replicated in Defendant’s subsequent reporting of bankruptcy

discharges and their effect on consumers’ debts.

       22.     Defendant’s      unreasonable   policies,   procedures,   and/or   algorithms

consistently fail to identify and update pre-bankruptcy debts as required by § 1681(e)(b).

       23.     Defendant knows the information it reports about consumers’ bankruptcies

is often inconsistent with public records, furnished/reported information, and/or

information contained in its own files.

       24.     The majority of institutions that offer financial services (e.g., banks,

creditors, lenders) rely upon consumer reports from CRAs (like Defendant) to make

lending decisions.

       25.     Those institutions also use FICO Scores and other proprietary third-party

algorithms (or “scoring” models), including debt-to-income ratios, to interpret the

information in a consumer’s credit report, which is based on the amount of reported debt,

payment history, and the date of delinquencies contained in Defendant’s reports.

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       26.      The information Defendant includes in a consumer report contributes to a

consumer’s overall creditworthiness and determines their FICO Scores.

       27.      FICO Scores are calculated using information contained in Defendant’s

consumer reports.

       28.      FICO and other third-party algorithms use variables or “attributes” derived

from a consumer report to calculate a person’s “credit score,” which is a direct reflection

of his or her creditworthiness.

       29.      FICO Scores factor the following credit report information: Payment history

(35%); Amount of debt (30%); Length of credit history (15%); New credit (10%); and

Credit mix (10%).

             a. “Payment history” refers to whether a consumer has paid his or her bills in

                the past, and whether these payments have been timely, late, or missed. In

                factoring the severity of delinquent payments, a FICO Score considers how

                late the payment continues to be, how much is owed, how recently the

                delinquency occurred, and how many delinquent accounts exist. The more

                severe, recent, and frequent late payments are, the lower a consumer’s FICO

                Score will be.

             b. The “amount of debt” a consumer owes has a major impact on his or her

                credit score. When a CRA reports a debt as outstanding when it is in fact

                discharged, the CRA is indicating that a consumer’s “amount of debt” is

                higher than it actually is, which will undoubtedly impact a consumer’s credit

                score.

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       30.        Lenders also consider a consumer’s debt-to-income ratio (DTI) before

deciding to extend credit or approve financing terms.

       31.        DTI compares the total amount a consumer owes to the total amount a

consumer earns.

       32.        Defendant regularly provides information that allows lenders to calculate the

“total amount of debt” a consumer owes based on the total debt reported by Defendant.

       33.        A consumer’s income, however, is not included in his or her credit report;

only his or her “amount of debt” is.

       34.        The higher the amount of reported debt that a consumer has, or appears to

have, the worse the consumer’s DTI will be, and the more difficult it will be for the

consumer to obtain credit and favorable credit terms (e.g., higher interest rates and lower

credit limits).

       35.        Upon information and belief, a consumer who has obtained a bankruptcy

discharge and has an account that is inaccurately reporting with outstanding or past due

balances after the bankruptcy discharge suffers greater harm than if that account were

accurately reporting with a zero-dollar balance.

       36.        Defendant is aware that the effect of a Discharge Order in a Chapter 7

Bankruptcy is that all statutorily dischargeable debts, other than those that have been

reaffirmed or successfully challenged in an adversary proceeding, are discharged.

       37.        However, Defendant also knows that it is rare for a pre-petition debt to be

reaffirmed or successfully challenged in an adversary proceeding.



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       38.      Further, Defendant knows that if reaffirmation agreements or adversary

proceedings exist, they will be explicitly identified on an individual consumer’s bankruptcy

docket sheet.

       39.      Additionally, information indicating whether a specific debt was reaffirmed

or successfully challenged through an adversary proceeding (rather than discharged) can

be easily retrieved from the same sources from which Defendant independently obtains

consumer bankruptcy case information.

       40.      Defendant also receives information about account reaffirmations or other

discharge exceptions directly from furnishers of account/tradeline information.

       41.      Despite the availability of accurate consumer information, Defendant

regularly reports inaccurate information about accounts after consumers receive a

Discharge Order.

       42.      Defendant’s unreasonable policies and procedures cause it to routinely report

inaccurate and materially misleading information about consumers, including Plaintiff,

who have been discharged from Chapter 7 Bankruptcy.

       43.      Rather than follow reasonable procedures to assure maximum possible

accuracy, as required by the FCRA, Defendant frequently reports information regarding

pre-bankruptcy debts based on information it knows is incomplete or inaccurate.

       44.      Consequently, Defendant regularly publishes consumer information that

conflicts with information provided by data furnishers to Defendant; is already included in

Defendant’s credit files; is contained in public records that Defendant regularly accesses;

or is sourced through Defendant’s independent and voluntary efforts.

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       45.      Defendant routinely reports inaccurate and materially misleading

information about consumers like Plaintiff, without verifying or updating it as required by

§ 1681(e)(b).

       46.      Defendant knows the information it reports about consumers’ bankruptcies

is often inconsistent with public records, information provided by furnishers, and data

contained in Defendant’s own files.

       47.      Consumers have filed thousands of lawsuits and FTC and Consumer

Financial Protection Bureau complaints against Defendant for its inaccurate credit

reporting following a Chapter 7 discharge.

       48.      Thus, Defendant is on continued notice of its inadequate post-bankruptcy

reporting procedures.      More specifically, Defendant is on continued notice that its

inadequate procedures regularly result in the reporting of inaccurate balances, account

statuses, payment histories, and payment statuses.

                     Allegations Specific to Credit Reporting of Plaintiff

       49.      Plaintiff filed a “no asset” Chapter 7 Bankruptcy on or about April 21, 2020,

in the United States Bankruptcy Court for the District of Minnesota (Case No. 20-31134).

       50.      Plaintiff received an Order of Discharge on or about July 28, 2020.

       51.      Thereafter, Plaintiff was not personally liable for any of her dischargeable

debts. Upon entry of Plaintiff’s Discharge Order, all of Plaintiff’s dischargeable debts had

zero-dollar balances.

       52.      Upon information and belief, Defendant prepared one or more consumer

reports concerning Plaintiff after Plaintiff was discharged from Chapter 7 Bankruptcy.

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       53.    Defendant obtained notice of Plaintiff’s bankruptcy discharge through its

routine, independent collection of consumer information from third party vendors such as

Lexis-Nexis, as well as from furnishers that provide data regarding the individual tradelines

reported by Defendant in Plaintiff’s consumer reports.

       54.    In the Public Records section of Plaintiff’s consumer report, Defendant

included the bankruptcy case number, court, filing date, and the fact that Plaintiff’s

bankruptcy had been discharged.

       55.    Defendant also reported Plaintiff’s credit history in individual “tradelines,”

including names of credit accounts, account numbers, account types, responsibility for the

account (i.e., individual or joint accounts), the date the accounts were opened, statuses, and

the dates of the last status update.

       56.    Defendant is aware that CRAs are generally required to report accounts

included in a consumer’s Chapter 7 bankruptcy with a status of “discharged through

bankruptcy” and/or with a zero-dollar balance, unless a furnisher provides information

showing that a specific debt was excluded from the discharge.

       57.    Defendant should have reported all of Plaintiff’s dischargeable, pre-petition

debts as included in or discharged in Chapter 7 Bankruptcy with a zero-dollar balance.

       58.    Defendant failed to report all of Plaintiff’s dischargeable, pre-petition debts

as included in or discharged in Chapter 7 bankruptcy with a zero-dollar balance.

       59.    Defendant inaccurately reported Plaintiff’s Midland Credit Management

Account (the “Midland Account”), starting with 30460***** and opened prior to April 21,

2020 (i.e., prior to Plaintiff’s bankruptcy filing).

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       60.    The Midland Account was discharged in Plaintiff’s bankruptcy on or about

July 28, 2020. Therefore, the Midland Account should have been reported as discharged

in bankruptcy, and/or with a zero-dollar balance.

       61.    However, Defendant inaccurately reported the discharged Midland Account

as a “collection account” with a $753 balance, instead of a zero-dollar balance.

       62.    Defendant did not indicate that the Midland Account was discharged in

bankruptcy or report the Midland Account with a zero-dollar balance, despite reporting

Plaintiff’s bankruptcy in the public records section of Plaintiff’s credit report and reporting

other pre-bankruptcy accounts as “Discharged through Bankruptcy Chapter 7” and/or with

zero-dollar balances.

       63.    Notably, Equifax Information Services (“Equifax”) and Trans Union, LLC

(“Trans Union”), two of the other national consumer reporting agencies, did not

inaccurately report the Midland Account such as Defendant did.

                                        Plaintiff’s Damages

       64.    Upon information and belief, Midland furnished information to Defendant

that indicated the Midland Account was included or discharged in bankruptcy, and/or had

a zero-dollar balance after the bankruptcy discharge, but Defendant rejected or otherwise

overrode the data it received.

       65.    Alternatively, upon information and belief, Defendant knew from past

experiences that Midland furnished inaccurate information regarding discharged debts or

has historically failed to employ reasonable procedures to ensure it properly updates

consumer debts after a Chapter 7 Bankruptcy is discharged.

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       66.    Nevertheless, Defendant blindly relied on the information provided by

Midland even though it conflicted with information contained in Defendant’s records,

contradicted other information Defendant reported about Plaintiff, or neglected

Defendant’s knowledge regarding Plaintiff’s bankruptcy and discharge.

       67.    Defendant’s blind reliance on the furnisher, Midland, was unreasonable.

       68.    Defendant inaccurately reported that Plaintiff owed a balance that Plaintiff

did not actually owe, and also reported an inaccurate account status.

       69.    Defendant inaccurately reported the Midland Account with a balance owed

after the Midland Account was discharged in Chapter 7 Bankruptcy and therefore had a

zero-dollar balance.

       70.    Defendant failed to indicate that the Midland Account had a zero-dollar

balance and/or was discharged in Chapter 7 Bankruptcy.

       71.    Defendant’s reporting of the Midland Account is patently false and therefore

inaccurate.

       72.    If not patently false, Defendant’s reporting of the Midland Account is

materially misleading and therefore inaccurate.

       73.    After Plaintiff’s bankruptcy discharge, Plaintiff applied for an auto loan and,

upon information and belief, was denied credit due to Defendant’s inaccurate reporting

regarding the Midland Account.

       74.    As a direct result of Defendant’s inaccurate reporting, Plaintiff suffers

damages, including a decreased credit score, lower overall creditworthiness, and other

financial harm.

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       75.    Additionally, Plaintiff suffers interference with daily activities, as well as

emotional distress, including, without limitation, emotional and mental anguish,

humiliation, stress, anger, frustration, shock, embarrassment, and anxiety.

                                    V.     COUNT I
              Violation of the Fair Credit Reporting Act, 15 U.S.C. § 1681e(b)

       76.    Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully set forth herein at length.

       77.    The FCRA requires CRAs, like Defendant, to maintain and follow

reasonable procedures to assure maximum possible accuracy of consumer information. 15

U.S.C. § 1681e(b).

       78.    Defendant negligently and willfully violated 15 U.S.C. § 1681e(b) by failing

to use reasonable procedures to assure maximum possible accuracy of the information it

reported about Plaintiff’s pre-bankruptcy debts after Plaintiff received a Discharge Order.

       79.    Defendant independently sought information about Plaintiff’s bankruptcy

filing and discharge and voluntarily included it in Plaintiff’s consumer reports.

       80.    When Defendant voluntarily procured and reported Plaintiff’s bankruptcy

information, it had an obligation to follow reasonable procedures to ensure it reported the

bankruptcy discharge and its effect(s) with maximal accuracy.

       81.    Defendant received notice of Plaintiff’s bankruptcy discharge through public

records, its own files, and information provided by data furnishers.




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       82.    Individual furnishers of account information also notified Defendant of

Plaintiff’s bankruptcy, as evidenced by other tradelines in Plaintiff’s credit report that are

labeled as included and discharged in bankruptcy.

       83.    Defendant had actual knowledge of Plaintiff’s bankruptcy and Discharge

Order, as evidenced by the information it published in Plaintiff’s consumer reports,

including Plaintiff’s bankruptcy case number, court, date of filing, and date of discharge.

       84.    But despite knowledge of Plaintiff’s bankruptcy, Defendant inaccurately

reported the Midland Account, which predated Plaintiff’s Chapter 7 Bankruptcy, with a

status other than “discharged in bankruptcy” and a balance greater than zero.

       85.    Defendant knew or should have known of its obligations under the FCRA,

especially those pertaining to reporting discharged debt with a zero-dollar balance.

       86.    These obligations are well established by the plain language of the FCRA,

promulgated by the Federal Trade Commission, detailed in case law, and exemplified in

prior cases involving Defendant from which Defendant is on notice of its unreasonable

procedures concerning the reporting of discharged debts.

       87.    Additionally, Defendant possesses or could easily obtain substantial written

materials that detail CRAs’ duties and obligations under the FCRA, including those arising

after a consumer files for Chapter 7 Bankruptcy.

       88.    Despite knowledge of these legal obligations, Defendant willfully and

knowingly breached its duties in violation of 15 U.S.C. § 1681e(b).             Accordingly,

Defendant deprived Plaintiff of her rights as a consumer under the FCRA.



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       89.    Not only did Defendant have prior notice of its unreasonable procedures for

reporting discharged debts, but it also possessed information from which it should have

known the information reported about Plaintiff was inaccurate.

       90.    Defendant knew or should have known that the effect of a Discharge Order

in a no-asset Chapter 7 Bankruptcy is to discharge all statutorily dischargeable debts other

than those that have been reaffirmed in a reaffirmation agreement or successfully

challenged in an adversary proceeding.

       91.    Defendant knows that discharged debts should not be reported as late, past

due, or with outstanding balances after the discharge date, and should be reported with a

zero-dollar balance.

       92.    Yet in this case, Defendant reported the Midland Account, which predated

Plaintiff’s bankruptcy, with a balance owed (instead of a zero-dollar balance) after it was

discharged.

       93.    Defendant violated 15 U.S.C. § 1681e(b) by failing to follow reasonable

procedures to assure maximum possible accuracy of the information included in Plaintiff’s

credit file/consumer report.

       94.    Defendant also violated 15 U.S.C. § 1681e(b) by failing to report accurate

information when Defendant knew or should have known the information it was reporting

was inaccurate, and/or otherwise contradicted by information known by Defendant,

reported to Defendant, and reasonably available to Defendant.

       95.    Defendant’s violations of 15 U.S.C. § 1681e(b) were willful.



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          96.    Alternatively, Defendant’s violations of 15 U.S.C. § 1681e(b) were

negligent.

          97.    Defendant’s inaccurate reporting damaged Plaintiff’s creditworthiness.

          98.    Plaintiff suffers actual damages, including a decreased credit score, loss of

credit opportunities, credit denials, and other financial harm caused by Defendant

inaccurately reporting a balance for a debt that was discharged in bankruptcy, and

otherwise failing to report that the Midland Account was discharged in bankruptcy.

          99.    Plaintiff also suffers interference with daily activities caused by other harm

including, but not limited to, emotional distress, mental anguish, humiliation, stress, anger,

frustration, shock, embarrassment, and anxiety.

          100.   Defendant is a direct and proximate cause of Plaintiff’s damages.

          101.   Defendant is a substantial factor in Plaintiff’s damages.

          102.   Therefore, Defendant is liable for actual and statutory damages, punitive

damages, attorneys’ fees, costs, as well as other such relief permitted by 15 U.S.C. § 1681

et seq.

                                 VI.    PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment against Defendant for the following:

          (a)    Declaratory judgment that Defendant violated the FCRA, 15 U.S.C. §

                 1681e(b);




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     (b)     An award of actual damages pursuant to 15 U.S.C. §§ 1681n(a)(1) or

             1681o(a)(1);

     (c)     An award of statutory damages pursuant to 15 U.S.C. §§ 1681n(a)(1) and

             1681o(a)(1);

     (d)     An award of punitive damages, as allowed by the Court pursuant to 15 U.S.C.

             § 1681n(a)(2),

     (e)     An award of costs and reasonable attorneys’ fees pursuant to 15 U.S.C. §

             1681n(a)(3) and § 1681o(a)(2); and

     (f)     Such other and further relief as this Honorable Court may deem just and

             proper, including any applicable pre-judgment and post-judgment interest,

             and/or declaratory relief.

                                  VII.     JURY DEMAND

     Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby demands a trial

  by jury of all issues triable by jury.

                                                  RESPECTFULLY SUBMITTED,

DATED: May 25, 2021                               By: /s/ Jenna Dakroub
                                                  Jenna Dakroub, Esq.
                                                  Bar Number: 0401650
                                                  PRICE LAW GROUP, APC
                                                  8245 N. 85th Way
                                                  Scottsdale, AZ 85258
                                                  Telephone: (818) 600-5513
                                                  Facsimile: (818) 600-5413
                                                  Email: jenna@pricelawgroup.com
                                                  Attorneys for Plaintiff


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